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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

__________________________________
                                  )
TRUE THE VOTE, INC.               )
                                  )
     Plaintiff,                   )
                                  )
     v.                           )                 Civil Action No. 1:13-cv-00734-RBW
                                  )
INTERNAL REVENUE SERVICE, et al., )
                                  )
     Defendants.                  )
                                  )


                          DEFENDANTS’ NOTICE OF APPEAL

       Defendants give notice that they appeal to the United States Court of Appeals for the

D.C. Circuit from the Order entered August 15, 2023 (Doc. 245).

DATED: October 11, 2023                     Respectfully submitted,

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